                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 20-cv-02172-RM-NYW

LINDSAY MINTER,
PASTOR THOMAS MAYES,
KRISTIN MALLORY,
TYLER SPRAGUE,
ALISSIA ACKER,
IRMA JOLENE FISHER, and
TOBIAS HOPP, on behalf of themselves, and others similarly situated,

Plaintiffs,

v.

CITY OF AURORA, COLORADO,
INTERIM POLICE CHIEF VANESSA WILSON, in her official and individual capacities,
MAYOR MICHAEL COFFMAN, in his individual capacity,
STEPHEN REDFEARN, in his individual capacity,
DELBERT L. TISDALE, JR., in his individual capacity,
MICHAEL McCLELLAND, in his individual capacity,
TERRY BROWN, in his individual capacity,
REGINALD DePASS, in his individual capacity,
NATHANIEL MOSS, in his individual capacity,
STEPHEN T. GARBER, in his individual capacity,
DARREN CHAMBERLAND, in his individual capacity,
MATTHEW BRUKBACHER, in his individual capacity,
WILLIAM HUMMEL, in his individual capacity,
DANIEL SMICK, in his individual capacity,
JASON BUBNA, in his individual capacity,
AUSTIN RUNYON, in his individual capacity,
SAMMIE WICKS, II, in his individual capacity,
JOSHUA WINTERS, in his individual capacity,
KEVIN DEICHSEL, in his individual capacity,
RYAN SWEENEY, in his individual capacity,
JORDAN O’NEAL, in his individual capacity,
CALEB JOSEPH PARRELLA, in his individual capacity,
EDWARD L. VANCE, in his individual capacity,
NICHOLAS WILSON, in his individual capacity,
MICHAEL BENDER, in his individual capacity,
KATHRINE LEWIS, in her individual capacity,
DEJON MARSH, in his individual capacity,
ROBERT ROSEN, in his individual capacity,
RONALD JAUREGUI-GUTIERREZ, in his individual capacity,
HADEN JONSGAARD, in her individual capacity,
MATTHEW GREEN, in his individual capacity,
ETHAN SNOW, in his individual capacity,
BRIAN MCCLURE, in his individual capacity,
SCOTT OSGOOD, in his individual capacity,
RYAN STOLLER, in his individual capacity,
JUAN GONZALEZ, in his individual capacity,
JENNIFER MCCORMACK, in her individual capacity,
NICHOLAS BRUNGARDT, in his individual capacity,
JOSHUA BEBEE, in his individual capacity,
STEVEN BRENNEMAN, in his individual capacity,
NICHOLAS LESANSKY, in his individual capacity,
MATTHEW CAMPBELL, in his individual capacity,
CORY MANKIN, in his individual capacity,
GRETA SALAZAR, in her individual capacity,
JEANNETTE RODRIGUEZ, in her individual capacity,
ROBERT WEATHERSPOON, in his individual capacity,
TYLER TIEGEN, in his individual capacity,
SEAN CONLEY, in his individual capacity,
CHRISTOPHER (SHANE) PURCELL, in his individual capacity,
LEWIS LITWILER, in his individual capacity,
GREG BRYANT, in his individual capacity,
BEN BULLARD, in his individual capacity,
RYAN MCCONNELL, in his individual capacity
BRANDON HOLDER, in his individual capacity,
ANTHONY ROSALES, in his individual capacity,
GREG GOMPERT, in his individual capacity,
CARLY SIMMONS, in her individual capacity,

Defendants.
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                           NOTICE OF ENTRY OF APPEARANCE
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To the Clerk and all parties of record:

        I hereby certify that I am a member in good standing of the bar of this Court, and I appear
in this case as counsel for above-named Defendants Matthew Campbell and Michael Bender,
(“Aurora Officer Defendants”), in their individual capacities.

       Respectfully submitted this 24th day of November, 2020.


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s/ Marc F. Colin
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                                CERTIFICATE OF SERVICE

        I certify that on this 24th day of November, 2020, a true and correct copy of the foregoing
NOTICE OF ENTRY OF APPEARANCE was e-filed via CM/ECF system and served
electronically or by U.S. Mail, postage prepaid, to the following:

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